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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW HAMPSHIRE


JOHN ANTHONY CASTRO,

                                     Plaintiff,

v.                                                                 No. 1:23-cv-00416-JL-TSM
SECRETARY OF STATE DAVID SCANLAN and
DONALD JOHN TRUMP,

                                     Defendants.


    DEFENDANT TRUMP’S OPPOSITION TO PLAINTIFF’S “EMERGENCY”
     MOTION TO COMPEL HIM TO APPEAR AT THE OCTOBER 20, 2023,
                   JURISDICTIONAL HEARING

       Plaintiff seeks extraordinary relief to which he is not entitled. He does so despite:

          Flouting this Court’s rules requiring parties to meet and confer before filing

           motions;

          Not even attempting in his written submissions to justify the relief that he seeks

           with respect to President Trump;

          Being unable to articulate in post-filing discussion communications with counsel

           or in his pleadings any real need for President Trump to testify; and

          Not even attempting to follow FRCP 45 which sets forth the proper procedure for

           compelling the attendance of a witness at a hearing.

Essentially, Plaintiff’s motion boils down to the assertion that he shouldn’t be expected to

comply with this Court’s rules, carry his burden (or even explain his position) in his papers,

or deal civilly and in good faith with his opponents or their counsel because he is

(supposedly) a pro se litigant. But that has never been the rule in this Court—see LR 4.3(b)

(Pro se “parties shall comply with these local rules…”)—it is contrary to this Court’s direct

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statement to the Plaintiff in the preliminary conference between the parties in September,

and it does not justify what Plaintiff seeks here.

                                GENERAL BACKGROUND

       Plaintiff John Anthony Castro is obsessed, an Ahab whose mission to harpoon

Donald Trump authorizes him—in his mind—to do what he will, regardless of the rules and

the rights of others. As the Attorney General of West Virginia wrote last week in urging a

federal court to dismiss another of Mr. Castro’s cookie cutter Fourteenth Amendment

lawsuits:

            Plaintiff John Anthony Castro filed this lawsuit as part of a multi-state
            litigation effort that he dubs “Operation Deadlock.” John Anthony Castro
            (@realJohnACastro), X (Sept. 20, 2023, 2:17 PM),
            https://bit.ly/48GyE9y. Castro’s supposed operation involves filing suit
            after suit—roughly two dozen so far—seeking to disqualify President
            Donald Trump from running for election again. See ECF No. 37. Castro
            will then “sidelin[e] and neutraliz[e] the influence of conservative judges”
            by “nonsuit[ing] those cases” that are not assigned to “Obama-appointed
            or Clinton-appointed judges.” Katherine Fung, Donald Trump’s Lawyers
            Get Stretched Even Thinner, NEWSWEEK (Sept. 19, 2023, 11:22 AM),
            https://bit.ly/3S2a25B; see, e.g., Notice of Dismissal, Castro v. Henderson,
            No. 2:23-cv-00617 (D. Utah Sept. 27, 2023), ECF No. 14 (Castro
            dismissing his suit after it was reassigned to a judge appointed by
            President Trump); but see, e.g., In re Fieger, No. 97-1359, 1999 WL 717991
            (6th Cir. Sept. 10, 1999) (affirming sanctions against attorney who had
            “dismissed [his] cases so that he could select the judge”). Castro evidently
            hopes these efforts will “completely bankrupt [President Trump] by next
            summer.” John Anthony Castro (@realJohnACastro), X (Sept. 27, 2023,
            8:40 PM), https://bit.ly/45gxpLq.
Castro v. Warner, Case No. 2:23-cv-00598 (S.D.W. Va. Oct. 12, 2023), ECF 44 at p. 4 of 24.

Mr. Castro’s willingness to abuse the judicial system is matched by his willingness to heap

abuse and vituperation on other parties, their counsel, and even the courts themselves when

they have the temerity to disagree with him. Two days ago, the Attorney General of West

Virginia again felt obliged to note Mr. Castro’s abusive behavior, this time objecting to his

attacks on the Magistrate Judge and other court personnel as well as on litigants:


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           Unfortunately, Castro’s “objection” seems to be little more than a vehicle
           through which to attack the magistrate judge. See ECF No. 48, at 1
           (criticizing “the U.S. Magistrate Judge’s halfwitted actions and
           inactions”). Castro filed similar attacks against court personnel earlier in
           the case.1 See, e.g., ECF No. 15 at 2 (arguing that the “U.S. Magistrate’s
           use of the ‘obvious’ standard completely [sic] devoid of supporting legal
           authority reveals this ruling for what it is”); ECF No. 31, at 2 (issuing a
           “demand[]” that “this Court have a discussion with the staff of the Clerk’s
           Office to take their work more seriously”). Indeed, Castro’s most recent
           filing even attacks the district court for being “hostile” and “show[ing]
           zero regard for civilized procedure.” ECF No. 48, at 2.
           1
             Castro has also lodged personal attacks against parties. See, e.g., ECF No.
           48, at 1 (saying that a filing was a “bizarre request” with “the legal
           sophistication of a first-year law student at best”). And he has attacked
           court personnel in his related suits. See, e.g., Mot. at 1-2, Castro v. Oliver,
           No. 1:23-cv-00766 (D.N.M. Sept. 29, 2023), ECF No. 12 (“[I]t is not the
           job of Plaintiff to conduct a continuing education course for the U.S.
           Magistrate. … It is the job of the U.S. Magistrate to either research the law
           or recuse himself for being intellectually deficient.”).

Castro v. Warner, Case No. 2:23-cv-00598 (S.D.W. Va. Oct. 12, 2023), ECF 51 at p. 3 of 4.

       It is worth noting that, although in the context of his crusade Mr. Castro seeks to

portray himself as a pro se plaintiff entitled to special solicitude, see, e.g., ECF 46.1 (“After

carefully considering the liberally construed pro se motion…”), in his day-to-day life he

depicts himself rather differently—as a practicing lawyer who holds two law degrees and

heads an international tax firm. See https://www.castroandco.com/staff-profiles/john-

anthony-castro-j-d-ll-m/ (“John Anthony Castro is the managing partner of Castro & Co.

Dr. Castro earned his Master of Laws (LL.M.) in International Taxation from Georgetown

University Law Center in Washington, DC. Dr. Castro also earned a Doctor of

Jurisprudence (J.D.) from UNM School of Law.… Dr. Castro is listed on each and every

return submitted by Castro & Co. and AiTax as a Third-Party Designee, which authorizes

him to practice federal tax law in all 50 states as well as the 68 countries with which the

U.S. has income and estate tax treaties.…”)). Lest there be any misunderstanding, the

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undersigned counsel do not vouch for Mr. Castro’s status as a lawyer—he does not appear

ever to have been admitted to any state bar—but that is how he holds himself out to the

public and he should not be allowed to wear one costume in public and a different one when

he thinks it advantages him here.

                           BACKGROUND TO THIS MOTION

       The entire history of this issue, insofar as it involves Donald Trump, is in writing and

submitted for the Court’s review. See Exhibit A, hereto, which is an email chain involving

Mr. Castro and counsel for the defendants. As this email chain shows, Mr. Castro first

listed the three witnesses that he seeks to compel to appear by this motion—the Secretary of

State, the Attorney General, and President Trump—in the witness list that he filed

approximately two hours after the Court entered its October 5, 2023, Procedural Order

(ECF 36) setting the upcoming hearing on jurisdictional issues. That Order expressly stated

that “[t]he plaintiff bears the burden to establish standing as to each defendant (the New

Hampshire Secretary of State and Donald J. Trump) separately and that his case presents a

justiciable question within the court’s jurisdiction.” ECF 36 at p. 2.

       The next day, counsel for the Secretary of State asked Mr. Castro to explain what

facts he sought to elicit, suggesting that it might be possible to work out a stipulation. Exh.

A. With respect to President Trump, the substance of Mr. Castro’s response was:

       I intend to establish that Donald John Trump intends to file his Declaration
       of Candidacy and pay the $1,000 filing fee either in-person or by mail
       postmarked between October 11 – 27 as required by state law.

 Id. Significantly, in the portion of that October 6 email discussing what he sought from the

Attorney General and the Secretary of State, Mr. Castro acknowledged that he fully

understood the relevant procedure applicable to both parties and non-parties: “Because I


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doubt the state will stipulate to that fact, I suspect I will be compelled to still call him as a

witness pursuant to Fed. R. Civ. P. 45(c)(1)(A).” Id. He wrote that twice. Id.

       There was no further communication between Mr. Castro and counsel for Mr.

Trump regarding his desire to have Mr. Trump appear to testify about the single, undisputed

fact that he stated was the sole reason for his wanting to call Mr. Trump as a witness. He

made no request that Mr. Trump make himself voluntarily available, he never asked if

counsel would accept service of a subpoena, nor is there any evidence that he attempted to

serve—much less succeeded in serving—a subpoena on Mr. Trump. Nor did he ever ask

Mr. Trump to stipulate to that fact. Had Mr. Castro done any of those things, counsel

would have told him that Mr. Trump would stipulate to that fact (as, in fact, Exhibit A

shows that he did as soon as Plaintiff filed this motion).

       But Plaintiff never raised the issue and the subject was never mentioned again until

his “emergency” motion appeared out of the blue at 6:15 p.m. on Monday, October 16,

2023. The undersigned counsel emailed him approximately an hour later, writing:

       I was surprised that you filed a motion to compel my client to appear at the
       hearing without first conferring with me, as required by the Local Rules. LR
       7(c) (“Any party filing a motion other than a dispositive motion shall certify
       to the court that a good faith effort has been made to obtain concurrence in
       the relief sought.”); LR 4.3(b) (Pro se “parties shall comply with these local
       rules…”).

       Your motion does not explain why you contend that my client should be
       required to attend the hearing, but rather discusses only your reasons for
       wanting the Secretary of State and the Attorney General to appear. While I
       do not agree that your motion establishes a need for either of those gentlemen
       to appear, I will leave it to their counsel to deal with that aspect of your
       motion.

       The only previous explanation of the testimony you hoped to elicit from my
       client is set forth in your October 6 email to Mr. O’Donnell, to which this
       email is a reply. Specifically, you wrote: “Donald John Trump. I intend to
       establish that Donald John Trump intends to file his Declaration of

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       Candidacy and pay the $1,000 filing fee either in-person or by mail
       postmarked between October 11 – 27 as required by state law.” My client will
       stipulate that he will file his Declaration of Candidacy and pay the $1,000
       filing fee by October 27, 2023. Accordingly, at least with respect to my client,
       your motion is moot. Please confirm that you will withdraw your motion
       with respect to my client.

Exh. A. He responded: “Noted. I was unaware of the local rules and will confer on future

motions. I will amend the Motion to remove any reference to your client once we submit a

join stipulation of facts, which I’m sure we can do by tomorrow.” Id. The next morning,

the undersigned counsel responded, attaching the agreed stipulation: “Here is a draft

stipulation as discussed below. Please confirm that this is acceptable to you and that, upon

execution, you will withdraw your motion as to my client.” Id. That evening, Mr. Castro

responded, attaching the signed stipulation: “Upon execution, I will withdraw the motion

as to Defendant Donald John Trump.” Id. Three minutes later, the undersigned counsel

responded “Unfortunately, I am not in a position to print and sign at the moment, will do so

when I can.” Id.

       Mr. Castro then apparently had second thoughts, deciding to attempt to use this

issue to coerce counsel into agreeing to accept his views on the scope of Friday’s hearing: 1


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  Within moments, those views were also set forth in ECF 48, which Mr. Castro titled a
Notice of Full Briefing and Closure of Deadline for Defendant Secretary of State to Motion
[sic.] to Dismiss. Lest there be any doubt, President Trump disagrees with virtually
everything Mr. Castro said in that document. The scope of Friday’s hearing is as set forth in
the Court’s Order, ECF 36, no matter what Mr. Castro would prefer it to be. And, of
course, whatever Mr. Castro’s preferences on the subject, “Federal courts ‘have an
independent obligation to determine whether subject-matter jurisdiction exists, even when
no party challenges it.’ Hertz Corp. v. Friend, 559 U.S. 77, 94, 130 S.Ct. 1181, 175 L.Ed.2d
1029 (2010); see also Lawless v. Steward Health Care Sys., LLC, 894 F.3d 9, 16 (1st Cir. 2018)
(‘[F]ederal subject-matter jurisdiction can never be presumed, nor can it be conferred by
acquiescence or consent.’) Therefore, we must ‘raise and decide jurisdictional questions that
the parties either overlook or elect not to press.’ Henderson ex rel. Henderson v. Shinseki, 562
U.S. 428, 434, 131 S.Ct. 1197, 179 L.Ed.2d 159 (2011).” Industria Lechera De Puerto Rico, Inc.
v. Beiro, 989 F.3d 116, 120 (1st Cir. 2021).
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       Perfect, I need to add that my agreement is also conditioned on you and your
       client agreeing that, other than the Political Queston Doctrine, there are no
       other grounds for claiming the Court lacks jurisdiction to hear the case.

       I understand you have addressed the self-executing nature of Section 3 of the
       14th Amendment, but that goes to whether a claim upon which relief can be
       granted has been asserted.

       Please confirm there are no other grounds, other than the Political Question
       Doctrine cited in your client’s Motion to Dismiss, that you intend to
       raise. The reason is quite evident: if you raise new grounds, I may need your
       client available to provide testimony. If you can also confirm there are no
       other grounds, we can proceed. If not, please consider the PDF I sent to be
       null and void.

Exh. A. The undersigned counsel declined to agree, both because the Court has clearly

stated the issues to be addressed at the October 20, 2023, hearing, and because it was

completely improper for the Plaintiff to attempt to coerce Defendant Trump into waiving

defenses (that are not, in any event waivable), by reneging on an agreement. Id.

                                         ARGUMENT

       I.      Plaintiff’s motion should be denied because he has failed to comply with
               the applicable rules.

       As a threshold matter, Plaintiff’s motion should be denied because he has failed to

comply with both this Court’s Local Rules and the Federal Rules of Civil Procedure. This

Court’s Local Rule 7.1(c) requires that “Any party filing a motion other than a dispositive

motion shall certify to the court that a good faith attempt has been made to obtain

concurrence.” Here, Mr. Castro made no effort to seek concurrence before filing his

motion, which is sufficient reason for denying his motion. See, e.g., In re Tyco Int'l Ltd. Sec.

Litig., No. 00-MD-1335-B, 2001 WL 34075721, at *1 (D.N.H. Jan. 30, 2001) (denying

motion due to failure to certify concurrence “as a sanction under LR 1.3(a)”). So, too, is




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Mr. Castro’s abuse of this Court’s procedures for seeking expedited treatment under Local

Rule 7.1(f). Mr. Castro nowhere shows good cause for this supposed “emergency”; he just

proclaims it. Yet if he was serious about getting these witnesses, his email of October 6

shows that he knew perfectly well how to try to do so then. The “emergency” after ten days

of inaction on his part is entirely a creature of Mr. Castro’s own making.

       More substantively, as Mr. Castro’s October 6 email twice acknowledged, Rule 45

provides the proper vehicle for compelling attendance at a hearing. Yet despite knowing

that at least 10 days before filing his surprise motion, he does not claim to have sought or

served a subpoena on Mr. Trump. There is simply no reason for this Court to create a

special rule for Mr. Castro just because he can’t be bothered to follow rules that he has

admitted he knows apply.

       II.    Plaintiff’s motion should be denied because he has shown absolutely no
              basis for compelling President Trump to appear in his opening brief.

       Plaintiff’s Motion explains why he wants the Secretary of State and the Attorney

General to appear at the hearing. (His rationale for asserting a need for their appearances

makes no sense whatsoever, resting as it does on a complete misunderstanding of the

political question doctrine argument advanced by President Trump, 2 but at least he has

made some effort to spell it out.) By contrast, the Motion contains no explanation why

President Trump should be required to attend. Not a single word. None. That would not

suffice as the opposition to a motion to quash a validly served subpoena. But where, as


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 President Trump contends that—as many courts have held—the Constitution vests
exclusive responsibility for resolving disputes regarding presidential qualifications in the
United States Congress, that is the Legislative Branch of the federal government. Thus, the
position of the Secretary of State and the Attorney General that members of the Executive
Branch of the New Hampshire state government lack power to decide those questions
supports President Trump’s position.
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here, plaintiff seeks the extraordinary remedy of skipping over the subpoena process and

haling the leading contender for the Republican presidential nomination into court at the

eleventh hour he should be required to make a very compelling showing of need. Yet he

has made no showing whatsoever.

       Plaintiff’s utter failure to brief the issue of requiring President Trump’s appearance

has waived it. “[I]t is well established in the First Circuit that failure to brief an issue waives

the issue.” Sirikanjanachai, No. BAP MB 20-003, 2020 WL 7647510, at *5 (B.A.P. 1st Cir.

Dec. 21, 2020) (holding that pro se litigant waived issue by failing to meaningfully brief it),

citing United States v. Bayard, 642 F.3d 59, 63 (1st Cir. 2011); accord, e.g., Grella v. Salem Five

Cent Sav. Bank, 42 F.3d 26, 36 (1st Cir. 1994) (“issues averted to in a perfunctory manner,

unaccompanied by some effort at developed argumentation, are deemed waived….Parties

must spell out their arguments squarely and distinctly or ‘forever hold their peace’”). This

rule applies in district courts just as much as on appeal. Higgins v. New Balance Athletic Shoe,

Inc., 194 F.3d 252, 260 (1st Cir. 1999) (“The district court is free to disregard arguments that

are not adequately developed….”); Ortiz v. Sig Sauer, Inc., 596 F. Supp. 3d 339, 351 (D.N.H.

2022) (LaPlante, J.) (“even if the exceptions were recognized, Ortiz’s arguments regarding

their applicability are too cursory to be considered.”); Ortiz v. Sig Sauer, Inc., No. 19-CV-

1025-JL, 2023 WL 1928094, at *2 (D.N.H. Feb. 10, 2023) (LaPlante, J.) (“The court does

not delve into the merits of certifying under Rule 23(b)(2), as Ortiz's argument is wholly

undeveloped.”), citing Higgins, supra.

         Castro’s brief does not even take a stab at an argument regarding President Trump.

And having failed to brief the issue in his opening brief, he cannot remedy that failure on

reply. See Frangos v. Bank of New York Mellon as Tr. for Certificateholders of CWABS, Inc., No.


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18-CV-112-JL, 2019 WL 192624, at *2 (D.N.H. Jan. 15, 2019) (LaPlante, J.) (“issues not

raised in an opening brief are waived”), aff'd sub nom. In re Frangos, No. 19-1200, 2021 WL

9525509 (1st Cir. Aug. 11, 2021).

       Waiver aside, Castro could not plausibly have made the case that President Trump’s

testimony was required. As the parties’ correspondence reveals, the only thing that Castro

has ever stated he wanted President Trump to testify to—that he will file a timely

Declaration of Candidacy and pay the fee—is uncontested. That Plaintiff apparently thinks

he might regret not having President Trump available just in case would not come close to a

showing of good cause—even if it had been made in the motion, which it wasn’t.

       The simple fact is that the jurisdictional issues to be heard on Friday are not issues as

to which President Trump has any relevant knowledge. Plaintiff has not identified—and

frankly the undersigned counsel can’t think of—any disputed issue with respect to which

President Trump could offer meaningful testimony. Not the political question doctrine.

Not ripeness. Not plaintiff’s own standing. Not the non-self-executing nature of Section

Three of the Fourteenth Amendment. Nor any other issue that might reasonably be

expected to come up on Friday.

                                       CONCLUSION

       Pro se or not, generously construed filing or not, the simple fact is that Castro has not

come close—has not even tried—to justify his last-minute demand that President Trump be

required to attend Friday’s hearing to offer unspecified testimony irrelevant to the

jurisdictional issues before the Court. The Court should deny his motion.



                                                   Respectfully Submitted
                                                   Donald J. Trump

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                                                   By his attorneys,
                                                   Lehmann Major List, PLLC

                                                   /s/ Jonathan M. Shaw
                      October 18, 2023             _____________________________
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                                     CERTIFICATION

I hereby certify that a copy of this pleading was this day forwarded to all counsel of record
via the court's electronic service system.

                                                   /s/ Jonathan M. Shaw
                      October 18, 2023             __________________________
                                                   Jonathan M. Shaw




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